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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff                                  CRIMINAL 15-0700-07CCC
vs
7) MARIELA GONZALEZ-ROMAN,
a/k/a “Mariela” (Counts ONE
through FIVE)
Defendant



                                  ORDER

     Having considered the Report and Recommendation filed on October 11,
2016 (d.e. 243) on a Rule 11 proceeding of defendant [7] Mariela
González-Román before U.S. Magistrate-Judge Marcos E. López on
September 6, 2016, to which no objection has been filed, the same is
APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that her plea was voluntary and intelligently entered with
awareness of her rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since September 6, 2016. The sentencing
hearing is set for DECEMBER 8, 2016 at 4:15 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
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Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on October 31, 2016.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
